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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT


ELLEN MACKLIN DIMURO, et al.  :
  plaintiffs,                 :
                              :
     v.                       : Civil No. 3:12CV01789(AVC)
                              :
CLINIQUE LABORATORIES, et al.,:
  defendants.                 :

                               JUDGMENT

     This action having come before the court for consideration

of the defendants’ motion to dismiss, and

     The court having considered the motion and the record of the

case, and having granted the defendants’ motion on November 22,

2013, it is hereby,

     ORDERED, ADJUDGED and DECREED that judgment be and is hereby

entered in favor of the defendants.

     Dated at Hartford, Connecticut, this 18th day of March, 2014

at Hartford, Connecticut.

                                 ROBIN TABORA, Clerk



                                 By: __/ s /   _
                                 Renee Alexander
                                 Deputy Clerk
